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 5
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     FRANK ALIOTO
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       ) No. CR-S-11-190 MCE
                                                     )
10
                                                     )
            Plaintiff,                               ) ORDER EXTENDING
11
                                                     ) TIME TO POST PROPERTY BOND
     v.                                              )
12
                                                     )
     FRANK ALIOTO,                                   )
13
                                                     )
                                                     )
14          Defendant.                               )
                                                     )
15
                                                     )
                                                     )
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            For good cause appearing, the due date for posting of a secured property bond in this
19
     matter shall be continued to August 1, 2012.
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22
     IT IS SO ORDERED.
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     Date: 7/9/2012
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25                                                  _____________________________________
                                                    KENDALL J. NEWMAN
26                                                  UNITED STATES MAGISTRATE JUDGE
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